                       Nos. 25-1812, 25-1813
_____________________________________________________________

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FEDERAL CIRCUIT
                        ___________________
V.O.S. SELECTIONS, INC., PLASTIC SERVICES AND PRODUCTS, LLC,
dba Genova Pipe, MICROKITS, LLC, FISHUSA INC., TERRY PRECISION
                          CYCLING LLC,
                                                   Plaintiffs-Appellees,
                                      v.
DONALD J. TRUMP, in his official capacity as President of the United States,
 EXECUTIVE OFFICE OF THE PRESIDENT, UNITED STATES, PETE R.
    FLORES, Acting Commissioner for United States Customs and Border
Protection, in his official capacity as Acting Commissioner of the United States
Customs and Border Protection, JAMIESON GREER, in his official capacity as
  United States Trade Representative, OFFICE OF THE UNITED STATES
 TRADE REPRESENTATIVE, HOWARD LUTNICK, in his official capacity
  as Secretary of Commerce, UNITED STATES CUSTOMS AND BOARD
                                  PROTECTION,
                                           Defendants-Appellants.
               _______________________________________

 STATE OF OREGON, STATE OF ARIZONA, STATE OF COLORADO,
   STATE OF CONNECTICUT, STATE OF DELAWARE, STATE OF
  ILLINOIS, STATE OF MAINE, STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW MEXICO, STATE OF NEW YORK, STATE OF
                         VERMONT,
                                                   Plaintiffs-Appellees,
                                      v.

PRESIDENT DONALD J. TRUMP, UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, KRISTI NOEM, Secretary of Homeland Security,
in her official capacity as Secretary of the Department of Homeland Security,
  UNITED STATES CUSTOMS AND BORDER PROTECTION, PETE R.
   FLORES, Acting Commissioner for United States Customs and Border
Protection, in his official capacity as Acting Commissioner for U.S. Customs
                   and Border Protection, UNITED STATES,
                                                   Defendants-Appellants.
                         ___________________
        Appeals from the United States Court of International Trade in
  Nos. 1:25-cv-00066-GSK-TMR-JAR and 1:25-cv-00077-GSK-TMR-JAR,
             Judge Gary S. Katzmann, Judge Timothy M. Reif,
                      and Senior Judge Jane A. Restani
                          ___________________
STATES PLAINTIFFS-APPELLEES’ OPPOSITION TO DEFENDANTS-
       APPELLANTS’ EMERGENCY MOTION FOR STAY
 PENDING APPEAL AND AN IMMEDIATE ADMINISTRATIVE STAY
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 PENDING APPEAL AND AN IMMEDIATE ADMINISTRATIVE STAY
                     _______________

                               INTRODUCTION

      Congress, not the President, has the “Power To lay and collect Taxes,

Duties, Imposts and Excises.” U.S. Const., Art. I, § 8. Defendants nonetheless

claim that the International Emergency Economic Powers Act (IEEPA)

delegates to the President the unilateral power to impose tariffs on any country,

at any rate, for however long he likes, and regardless of express statutory limits

in other tariff statutes and IEEPA itself. This Court should not endorse that

dangerous—and potentially unconstitutional—view, and certainly not in the

rushed posture of a stay proceeding without the benefit of full briefing and

argument.

      This case is not about the President’s Article II power over foreign policy

or national security; it is about Congress’s Article I power over taxes and

tariffs. Defendants’ claimed need for a stay to strengthen the President’s

leverage in international negotiations is no basis for a stay when the leverage is

based on asserting authority that he plainly does not have. The Court of

International Trade (CIT) correctly held that the sweeping tariffs at issue here

exceed any authority Congress delegated to the President in IEEPA. That
holding merely requires the President to stay within lines that every other

President in the last 50 years has followed.

      Beyond the merits, defendants’ stay motion (“Motion”) relies mainly on

assertions about the effects of the CIT’s ruling on national security and

diplomatic relations, based on declarations submitted before that ruling. But

since that ruling—including before this Court entered a temporary

administrative stay—top Administration officials have contradicted those

assertions repeatedly and forcefully. They have confirmed that the President

retains sufficient authority over tariffs through statutes other than IEEPA and

that negotiations with trading partners are not being adversely affected by the

CIT’s decision. See generally B2–B10.1 This Court should not base a stay

decision on defendants’ earlier predictions to the contrary.

      Plaintiffs do not oppose expedited briefing and argument on the merits.

But defendants offer no sound basis to stay enforcement of the injunction in the

meantime. At the very least, this Court should leave the injunction in place to

the extent it prohibits defendants from raising the unlawful tariffs further during

this appeal—as they continue to say will happen as soon as July 9th. B10.



      1
            An Addendum with relevant materials is attached to this
opposition with pages marked “B__”. References to materials in defendants’
Addendum are denoted “A_.”

                                         2
                                BACKGROUND

A.    IEEPA does not mention tariffs but allows the President to “regulate
      … importation” to “deal with an unusual and extraordinary threat.”
      Congress enacted IEEPA in 1977 to reign in the “essentially … unlimited

grant of authority” for the President to act in an emergency under IEEPA’s

predecessor, the Trading with the Enemy Act (TWEA). H.R. Rep. No. 95-459,

at 7 (1977); see also id. at 1 (Congress intended that IEEPA would provide

“somewhat narrower powers”). IEEPA authorizes the President to take certain

actions during a declared national emergency that arises from a foreign threat,

but only “to deal with an unusual and extraordinary threat” and not “for any

other purpose.” 50 U.S.C. § 1701(b). Among those authorities are the power to

“regulate” the “importation or exportation” of “any property in which any

foreign country or a national thereof has any interest.” Id. § 1702(a)(1).2

      IEEPA does not specifically authorize the President to impose tariffs, and

no other President before President Trump has used it to do so. By contrast,

Congress legislated extensively on the subject of tariffs in Title 19 of the U.S.

Code, including provisions that allow the President to raise or lower tariffs in

defined circumstances. One such statute is Section 122 of the Trade Act of

1974, which allows the President to impose limited duties—up to 15% for up to


      2
      The full text of §§ 1701 and 1702 are included in the Addendum at
B16–B19.

                                         3
150 days—“to deal with large and serious United States balance-of-payments

deficits.” 19 U.S.C. § 2132(a)(1).

B.    President Trump invoked IEEPA to impose sweeping tariffs on
      imports, purportedly to address drug trafficking and trade deficits.

      Earlier this year, President Trump invoked IEEPA to impose tariffs on

most imports worldwide. The tariffs generally fell into two categories. First,

the President imposed tariffs on most imports from Canada, Mexico, and China

based on his declarations of emergencies regarding fentanyl trafficking, other

crime, and—for Mexico and China only—immigration. Exec. Order No.

14,193, 90 Fed. Reg. 9113 (Feb. 1, 2025); Exec. Order No. 14,194, 90 Fed.

Reg. 9117 (Feb. 1, 2025); Exec. Order No. 14,195, 90 Fed. Reg. 9121 (Feb. 1,

2025). Second, he imposed tariffs worldwide, including additional tariffs on

China, based on his conclusion that “U.S. trading partners’ economic policies

… suppress domestic wages and consumption, as indicated by large and

persistent annual U.S. goods trade deficits.” Exec. Order No. 14,257, 90 Fed.

Reg. 15,041, 15,041 (Apr. 2, 2025).

      Over the past several months, the President suspended some tariffs,

increased others, and modified the scope of the exceptions they allow. See

A19–A24 (detailing history). As of the time of the CIT’s ruling, the orders

subjected most imports from China to a 30 percent additional tariff rate, most

imports from Canada and Mexico to a 25 percent additional tariff rate, and most

                                       4
imports from the rest of the world to a 10 percent additional tariff rate, with

higher rates scheduled to take effect on July 9, 2025, and August 12, 2025.

A22–A24 & n.2.

C.    The CIT held that IEEPA did not authorize the tariffs.

      Plaintiffs are 12 States who are adversely affected by the tariffs,

including because they import products from overseas directly and because they

purchase goods and supplies imported by others. A31–A32. Plaintiffs sued,

arguing that the IEEPA tariffs were unlawful.

      A three-judge CIT panel unanimously granted summary judgment to the

States, as well as to a group of businesses that had sued separately. A11. The

court held that IEEPA did not authorize any of the tariffs that the President had

imposed. A34.

      First, the CIT held that the worldwide tariffs imposed based on trade

deficits were invalid because IEEPA does “not confer unlimited tariff

authority” of the kind the President claimed in imposing the Worldwide Tariffs.

A38. The court concluded that a finding that IEEPA authorizes “unlimited”

tariffs would run afoul of both the nondelegation canon and the major questions

doctrine. A37. The court also noted that in IEEPA Congress delegated

narrower authority to deal with threats not addressed in non-emergency statutes.

A43–A44. Thus, the CIT held, “the President’s Worldwide and Retaliatory


                                         5
Tariffs, imposed in response to a balance-of-payments deficit, must conform

with the limits of Section 122” of the Trade Act of 1974, which they did not.

A44.

       Second, the CIT held that the trafficking-related tariffs on Canada,

Mexico, and China exceed another express limit in IEEPA: that the President’s

actions “deal with” the identified threat. A45 (quoting 50 U.S.C. § 1701). That

statutory requirement does not present an unreviewable political question;

“Section 1701 is not a symbolic festoon.” A50. The term “deal with” requires

“a direct link between an act and the problem it purports to address.” A53. But

collecting tariffs on lawful imports has no direct link to stopping illegal drug

trafficking. A54. Nor is potential leverage in trade negotiations enough to

satisfy the statutory requirement. A54–A55.

       As relief, the CIT declared that the challenged executive orders are

“invalid,” enjoined their operation, and gave the United States 10 days to issue

“necessary administrative orders” to effectuate that relief. A8–A9. The court

explained that there was no basis for more narrowly tailored relief. A57.

                                  ARGUMENT

       A stay pending appeal is “an exercise of judicial discretion,” and “not a

matter of right, even if irreparable injury might otherwise result.” Nken v.

Holder, 556 U.S. 418, 433 (2009) (internal quotation marks omitted). The


                                         6
moving party bears a “heavy burden” of demonstrating entitlement to this

“extraordinary” remedy. Winston-Salem/Forsyth Cnty. Bd. of Educ. v. Scott,

404 U.S. 1221, 1231 (1971). A court must consider “(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken, 556 U.S. at 434

(internal quotation marks omitted).

A.    Defendants have not made a strong showing that they are likely to
      succeed on appeal.

      The CIT invalidated the worldwide tariffs because they do not fall within

IEEPA’s authorization to “regulate … importation,” and the trafficking tariffs

because they do not “deal with” the identified threat as IEEPA expressly

requires. Both rulings are straightforward applications of IEEPA’s statutory

limits. Defendants’ arguments do not make the “strong showing” on the merits

needed for a stay pending appeal. Id. at 434.

      1.     The CIT correctly invalidated the worldwide tariffs because
             they exceed IEEPA’s authorization to “regulate …
             importation.”

      IEEPA’s authorization to “regulate … importation” does not allow the

President to impose unlimited tariffs, particularly tariffs that exceed limits

Congress imposed in other statutes such as Section 122. The CIT’s holding

                                          7
follows from basic principles of statutory construction and comports with the

very precedent on which defendants rely, United States v. Yoshida Int’l, Inc.,

526 F.2d 560 (C.C.P.A. 1975). Mot. 14.

             a.    IEEPA does not grant authority to impose unlimited
                   tariffs, if it authorizes tariffs at all.
      IEEPA says nothing about tariffs, much less anything suggesting that the

President has blanket permission to override other statutory limits on tariffs.

Authorization to “regulate” imports during an emergency does not imply

authorization to tax imports. The Constitution itself identifies the power to “lay

and collect Taxes, Duties, Imposts and Excises” separately from the authority to

“regulate Commerce with foreign Nations.” U.S. Const., Art. I, § 8. Two

hundred years of precedent recognizes that those powers are “distinct from each

other.” Gibbons v. Ogden, 22 U.S. (9 Wheat) 1, 201 (1824).

      Other provisions of IEEPA confirm that authorization to “regulate …

importation” does not include the power to displace existing statutes that

address tariffs, such as Section 122. Congress specified that IEEPA’s authority

“may only be exercised to deal with an unusual and extraordinary threat.”

50 U.S.C. § 1701(b) (emphasis added). Although the CIT did not reach

plaintiffs’ separate argument that some of the tariffs violate the “unusual and

extraordinary threat” requirement, A46 n.12, that statutory text reinforces the

court’s holding that IEEPA does not authorize tariffs that are covered by

                                         8
another statutory rule. The term “extraordinary,” in the context of laws, means

“of, relating to, or having the nature of a proceeding or action not normally

required by law or not prescribed for the regular administration of the law” or

“of, relating to, or having the nature of an occurrence (such as an accident or

casualty) or risk of a kind other than what ordinary experience or prudence

would foresee.” Webster’s Third New Int’l Dictionary 807 (unabridged ed.

2002). Thus, when IEEPA requires that the threat be “extraordinary,” it means

that it involves circumstances that were unforeseeable such that Congress has

not provided for them in other legislation. See H.R. Rep. No. 95-459, at 10

(IEEPA is intended to address “unforeseen contingencies”; “emergencies are by

their nature rare and brief, and are not to be equated with normal, ongoing

problems.”). In other words, if IEEPA authorizes the President to impose tariffs

at all—which it does not—it does so only in circumstances not already covered

by another, ordinary tariff statute.

      Any doubt that “regulate … importation” does not authorize unlimited

tariffs is put to rest by constitutional avoidance and canons of statutory

interpretation. See A28 (“Regardless of whether the court views the President’s

actions through the nondelegation doctrine, through the major questions

doctrine, or simply with separation of powers in mind, any interpretation of

IEEPA that delegates unlimited tariff authority is unconstitutional.”).

                                         9
      First, the doctrine of constitutional avoidance requires courts to “shun”

an interpretation that “raises serious constitutional doubts.” Jennings v.

Rodriguez, 583 U.S. 281, 286 (2018). Defendants’ reading of IEEPA raises

serious constitutional doubts under the nondelegation doctrine, which requires

Congress to lay down an “intelligible principle” when it delegates its Article I

powers to the executive branch. Mistretta v. United States, 488 U.S. 361, 372

(1989). Defendants contend that Congress delegated the President unlimited

authority to impose tariffs—an exclusive congressional power under Article I—

including authority to exceed separate statutory limits on tariffs and to rewrite

the tariff schedules at his whim. A delegation that unbounded would raise

grave separation-of-powers concerns.

      Second, the major-questions doctrine reflects the commonsense

presumption that, if Congress intends to give the Executive authority to make

decisions of “vast economic and political significance,” Congress will express

that intent clearly. Utility Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)

(internal quotation marks omitted); see also Alabama Ass’n of Realtors v. Dep’t

of Health & Human Servs., 594 U.S. 758, 764 (2021) (noting that the “sheer

scope” of claimed authority is a reason for caution in interpreting a

Congressional delegation of authority). IEEPA’s authorization to “regulate”

importation during a national emergency does not evince a clear intent to give

                                        10
the President authority to tax trillions of dollars in imports from any country at

any rate he wants and for however long he chooses.

      Defendants contend that neither the major-questions doctrine nor the

nondelegation doctrine applies to a statute dealing with the President’s

constitutional authority. Mot. 15–19. But this case is not about the President’s

Article II power over foreign affairs; it is about Congress’s Article I power over

tariffs. Regardless, every court to consider the question has concluded that the

major-questions doctrine applies to the President. See Kentucky v. Biden, 23

F.4th 585, 606–08 (6th Cir. 2022); Louisiana v. Biden, 55 F.4th 1017, 1029–31

(5th Cir. 2022); Georgia v. President of the U.S., 46 F.4th 1283, 1295–96 (11th

Cir. 2022).3 And the reason that no court has found a nondelegation problem

with IEEPA is that no court has upheld the limitless reading of IEEPA that

defendants press here. Cf. Yoshida, 526 F.2d at 583 (“We do not here sanction

the exercise of an unlimited power, which, we agree with the Customs Court,

would be to strike a blow to our Constitution.”).


      3
              In Mayes v. Biden, 67 F.4th 921, 932–34 (9th Cir. 2023), the Ninth
Circuit held that the major questions doctrine did not apply to the President.
The court later vacated the opinion as moot. Mayes v. Biden, 89 F.4th 1186
(9th Cir. 2023). At least one judge on the Ninth Circuit has since come to the
opposite conclusion. See Nebraska v. Su, 121 F.4th 1, 17–22 (9th Cir. 2024)
(Nelson, J., concurring).



                                        11
             b.     Yoshida supports rather than undermines that
                    conclusion.

      In arguing to the contrary, defendants rely mainly on Yoshida’s

interpretation of similar text in TWEA, IEEPA’s predecessor. Mot. 14. But to

the extent Yoshida bears on IEEPA’s meaning, it confirms that “regulate …

importation” does not authorize unlimited tariffs, particularly tariffs that exceed

the limits Congress set in Section 122.

      Yoshida involved President Nixon’s 1971 use of TWEA to impose a

temporary surcharge on imports to address a balance-of-payments deficit. 526

F.2d at 567. The surcharge, which stayed within congressionally established

tariff rates, was imposed before Congress enacted specific authority for that

situation in Section 122 of the Trade Act of 1974. Id. at 577. In Yoshida, the

court upheld the President’s use of TWEA, but only because no more specific

statute controlled the situation at the time. The court emphasized that, because

Congress had since enacted Section 122, “a surcharge imposed after Jan. 3,

1975 must, of course, comply with the statute now governing such action.” Id.

at 582 n.33; see also id. at 578 (“Congress has said what may be done with

respect to foreseeable events in the Tariff Act, the TEA, and in the Trade Act of

1974 ….”). In other words, Section 122, not TWEA, would govern balance-of-

payments problems going forward.



                                          12
      That is not an assertion that Section 122 “displaces” or is an “implied

exception” to IEEPA. Mot. 19. It is an interpretation of the scope of IEEPA’s

emergency powers, which are meant only to deal with unusual and

extraordinary threats that Congress did not anticipate through ordinary

legislation. Congress enacted IEEPA against the backdrop of Yoshida, and it

intended to rein in the President’s emergency powers—not to expand them.

H.R. Rep. No. 95–459, at 1, 7, 10. If “regulate … importation” includes

authority to set tariffs at all, that authority does not extend to tariffs that exceed

other statutory limits.

      2.     The CIT correctly invalidated the trafficking tariffs because
             they do not “deal with” the fentanyl crisis.
      The across-the-board tariffs on Canada, Mexico, and China violate

IEEPA’s express requirement that emergency economic powers “may only be

exercised to deal with an unusual and extraordinary threat” and “may not be

exercised for any other purpose.” 50 U.S.C. § 1701(b) (emphasis added). As

the CIT recognized, “‘Deal with’ connotes a direct link between an act and the

problem it purports to address.” A53. Yet the tariffs are not targeted at

fentanyl or related products or any aspect of illicit drug trafficking,

immigration, or crime more generally. Rather, they apply to almost all goods

from the affected nations, regardless of whether any particular good has a

reasonable connection to fentanyl trafficking or any of those other bases.

                                          13
      Defendants do not contest those facts. Instead, they argue that the tariffs

give the President leverage in negotiations. But the CIT correctly held that

mere leverage is not enough to satisfy the statutory requirement that IEEPA

may be used only to deal with the threat directly, and not “for any other

purpose.” 50 U.S.C. § 1701(b). To conclude otherwise would essentially read

the “deal with” requirement out of the statute. Defendants do not offer any

alternative interpretation of “deal with” that gives that statutory phrase

meaningful content. Mot. 21–22.

      The political-question doctrine does not apply here, where the Court is

interpreting a statute and deciding whether the executive branch exceeded the

authority it grants. See Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189,

196 (2012) (there is no political question when “the Judiciary must decide

[which] interpretation of the statute is correct”); El-Shifa Pharm. Indus. Co. v.

United States, 607 F.3d 836, 857 (D.C. Cir. 2010) (Kavanaugh, J., concurring in

the judgment) (explaining that “the political question doctrine does not apply in

cases alleging statutory violations”). Although courts do not review a

President’s decision to declare a national emergency, they review the legality of

actions taken under IEEPA and TWEA. See Yoshida, 526 F.2d at 579

(“Though courts will not normally review the essentially political questions

surrounding the declaration or continuance of a national emergency, they will

                                        14
not hesitate to review the actions taken in response thereto or in reliance

thereon.”); see also Marland v. Trump, 498 F. Supp. 3d 624, 635 (E.D. Pa.

2020) (courts have reviewed IEEPA actions under the APA).

      3.     The CIT did not abuse its discretion in issuing an injunction.

      Defendants have not made a strong showing that they are likely to

succeed challenging the injunctive relief granted here. See U.S. Shoe Corp. v.

United States, 296 F.3d 1378, 1381 (Fed. Cir. 2002) (equitable remedies are

reviewed for abuse of discretion). As the CIT explained, a permanent

injunction is necessary because of the “compelling public interest in ensuring

that governmental bodies comply with the law” and “the lack of any cognizable

hardship borne by the United States in the form of its non-enforcement of

orders issued ultra vires.” B12. Defendants do not explain why the CIT,

having concluded that the tariffs are unlawful, nonetheless should have

withheld injunctive relief and effectively allowed defendants to continue to

violate the law by collecting them.

                                       ***

      This Court should deny a stay based on defendants’ unlikelihood of

success on appeal alone, even considering just the issues the CIT decided.

Nonetheless, there are two additional statutory arguments that the CIT did not

reach but that this Court can consider.


                                          15
      First, IEEPA does not authorize tariffs at all. As explained, centuries of

jurisprudence confirm that “regulate” does not mean “tax.” The sole authority

for defendants’ contrary argument is Yoshida, which interpreted a different

statute, involved surcharges that were capped at the congressionally approved

tariff rates, and said that it was not endorsing a reading of TWEA that would

“enabl[e] the President to rewrite the tariff schedules”—exactly the power that

President Trump is claiming here. 526 F.2d at 577–78, 583. Regardless,

Yoshida’s precedential value is undercut by its failure to deploy any of the

important tools of statutory interpretation used by modern courts—among other

things, the ordinary meaning of “regulate” and its surrounding terms, the

context of related trade statutes that expressly delegate tariff-making authority,

and the major questions doctrine. See ECF-14 (Memo. ISO Prelim. Inj. (“PI

Memo”)) at 15–19; ECF-47 (Reply ISO Prelim. Inj. (“Reply”)) at 8–10.

      Second, the tariffs imposed as a response to the trade deficit do not

address an “unusual and extraordinary threat,” as § 1701 requires. The trade

deficit is not “unusual” because, as the President himself stated in imposing

tariffs, “annual U.S. goods trade deficits” are “persistent.” Exec. Order No.

14,257, 90 Fed. Reg. at 15,041. A problem that is persistent is not unusual; it is

exactly the opposite. And as noted above, the trade deficit is not

“extraordinary” because Congress anticipated the use of tariffs to address it in

                                        16
Section 122. See ECF-14 (PI Memo) at 22–23; ECF-47 (Reply) at 14–17. For

that reason too, the worldwide tariffs exceed IEEPA’s express statutory limits.

B.    The other factors weigh heavily against a stay.

      The equities do not favor a stay here either. This Court considers

“whether the applicant will be irreparably injured absent a stay” as well as

“whether issuance of the stay will substantially injure the other parties

interested in the proceeding.” Nken, 556 U.S. at 434. That standard is not

symmetrical: Only “irreparable” injuries count for the party seeking a stay, but

“substantial[]” injuries count for the other parties. For defendants here, the

“key word … is irreparable. Mere injuries, however substantial, in terms of

money, time and energy necessarily expended in the absence of a stay, are not

enough.” Sampson v. Murray, 415 U.S. 61, 90 (1974) (citation omitted). And

those irreparable injuries must also be “substantial and immediate,” Apple Inc.

v. Samsung Elecs. Co., 695 F.3d 1370, 1374 (Fed. Cir. 2012); a mere

“possibility of irreparable injury” does not suffice. Nken, 556 U.S. at 434–35.

      1.     The Administration’s own public statements refute defendants’
             claims of dire harm from the CIT ruling.

      Defendants, relying on declarations submitted before the CIT’s ruling

(A68–A91), represent to this Court that the ruling threatens ongoing trade

negotiations. Mot. 23–25. But after that ruling, and even before this Court



                                        17
granted a temporary administrative stay, senior Administration officials

publicly contradicted those claims:

    Kevin Hassett, the Director of the National Economic Council, said that

      the ruling is “certainly not going to affect the negotiations” over trade

      deals with other nations, explaining that “there are three or four other

      ways” for the President to impose tariffs even if he cannot do so under

      IEEPA. B1–B3.

    Peter Navarro, the President’s Senior Counselor for Trade and

      Manufacturing, confirmed that “nothing has really changed” and that the

      Administration is “still, as we speak, having countries call us and tell us

      they want a deal. So these deals are going to happen.” B3; see also B4

      (“There’s 122, there’s 301, there’s 232, there’s 338. There’s all sorts of

      things we can do well within the law.”).

    Secretary of Commerce Howard Lutnick, who previously predicted that

      an adverse ruling would “collapse ongoing negotiations” (A78), now

      acknowledges that it “maybe cost us a week—but then everybody came

      right back to the table.” B9; see also B8 (“He has so many other

      authorities that even in the weird and unusual circumstance where this

      was taken away, we just bring on another or another or another.”).



                                       18
    U.S. Trade Representative Jamison Greer, who predicted that an adverse

      ruling “would create a foreign policy disaster scenario” (A91), now says

      that even “before we had the stay” he received “emails and texts from

      foreign officials saying … we’re just going to keep negotiating with you

      as before.” B7.

Thus, this Court should not credit defendants’ assertions about the need for a

stay to protect national security and the economy.

      But even if the President’s negotiating position were somehow harmed

by the ruling below, that would not justify a stay. The President tried to

exercise authority that he does not have. The government cannot “be heard to

complain about damage inflicted by its own hand.” Pennsylvania v. New Jersey,

426 U.S. 660, 664 (1976); Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.

2013) (The federal government “cannot suffer harm from an injunction that

merely ends an unlawful practice[.]”); Atlas Powder Co. v. Ireco Chemicals,

773 F.2d 1230, 1231 (Fed. Cir. 1985) (rejecting a defendant’s request to

“continue the alleged infringements at the rate they occurred when the suit was

filed, even though the assessment of likelihood of success had shown that such

acts would probably be held unlawful”).

      Moreover, as Administration officials now acknowledge, the relief

granted below does not affect the many other levers of power the President has

                                       19
in trade negotiations. It does not preclude him from invoking Section 122,

which grants authority—albeit limited authority—to impose tariffs to deal with

a large and serious balance-of-payment deficit. See A43 (explaining that “an

imbalance in trade” is “a type of balance-of-payments deficit”). It does not

preclude him from invoking Section 232 of the Trade Expansion Act of 1962,

19 U.S.C. § 1862, which addresses tariffs based on national security risks. And

it does not preclude him from asking Congress for additional authority, as

Presidents in the past have done. Defendants may not want to comply with the

substantive and procedural limitations that current law imposes, but that is not a

basis to let them continue to act unlawfully.

      2.     The balance of injuries and public interest weigh decidedly
             against a stay.

      The only cognizable injury that defendants will suffer while this appeal

proceeds is that they will be unable to collect the tariffs for a period. But on the

other side of the ledger, a stay will inflict on plaintiff States—and others—the

very harms that justified relief in the first place, harms that cannot be remedied

by the eventual refunds that defendants promise. Mot. 25.

      First, future refunds of tariffs paid will not redress the harm to the States

that pay more for goods, equipment, and services in the meantime. The States

purchase goods from countless vendors who will raise prices due to the tariffs.

E.g., ECF-14-4 ¶ 7 (Emerson Decl. (Or.)); ECF-14-13 ¶ 7 (Ward Decl. (Ariz.));

                                        20
ECF-14-5 ¶¶ 8–14, Exs. A–F (Hayes Decl. (Minn.)); ECF-14-10 ¶¶ 9, 13–14,

17, Exs. B–D (Root Decl. (Minn.)). Once they pass the tariff costs on to the

States through higher prices, the States likely cannot recover those costs even if

the vendors ultimately receive refunds. That is not a trivial sum: The plaintiff

States’ annual losses are conservatively estimated at $1.6 billion per year.

ECF-14-2 ¶ 52 (Hines Decl.).

      Second, refunds will not remedy the administrative costs, procurement

problems, budgetary uncertainty, and related harms caused by the unlawful

tariffs. See Restaurant Law Ctr. v. U.S. Dep’t of Labor, 66 F.4th 593, 598 (5th

Cir. 2023) (“[N]onrecoverable compliance costs are usually irreparable harm.”);

Metalcraft of Mayville, Inc. v. The Toro Co., 848 F.3d 1358, 1368 (Fed. Cir.

2017) (“Where the injury cannot be quantified, no amount of money damages is

calculable, and therefore the harm cannot be adequately compensated and is

irreparable.”). A stay will force state agencies and universities to forgo

purchases that are critical to public services because of the unexpected

increased costs. ECF-14-4 ¶ 6 (Emerson Decl. (Or.)); see also ECF-14-7 ¶¶ 8–

9, 16 (Johnson Decl. (Ill.)); ECF-14-9 ¶¶ 12–13 (Ramsdell Decl. (Or.)).

      At the very least, any stay should be limited to the tariff rates currently in

effect and should not allow defendants to raise those rates further while this

appeal is pending. A stay that allowed the President to continue to raise tariffs

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at his whim would inflict further harm. The constantly changing tariff rates

deprive the States of reasonable certainty as to how much goods and services

will cost, which bids from contractors are the lowest, and what their agencies

and universities can afford. If the States have to budget for potential tariff rates

ranging from 10 to 145 percent, depending on what the President decides to do

on any given day, they cannot allocate resources appropriately. E.g., ECF-14-9

¶ 11 (Ramsdell Decl. (Or.); ECF-14-11 ¶ 16 (Shabram Decl. (Or.)); ECF-14-13

¶ 9–10 (Ward Decl. (Ariz.)). And setting aside funding for tariff contingencies

reduces the funds available for investments in core missions, including

university research, infrastructure, and public services. E.g., ECF-14-11 ¶ 18

(Shabram Decl. (Or.)); ECF-14-9 ¶ 7 (Ramsdell Decl. (Or.)); ECF-14-6 ¶ 38

(Jaros Decl. (Colo.)).

      Finally, the public interest weighs heavily against a stay. There is a

strong public interest in protecting the rule of law and not allowing the

executive branch to unlawfully impose tariffs on the world at its whim,

muddled by threats, additions, exceptions, and pauses. See Am. Signature, Inc.

v. United States, 598 F.3d 816, 830 (Fed. Cir. 2010) (“The public interest is

served by ensuring that governmental bodies comply with the law[.]”); League

of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (“There is

generally no public interest in the perpetuation of unlawful agency action.”).

                                         22
Further, the public interest against a stay is heightened where, as here, the

President’s unlawful actions have devastating economic consequences

nationwide. ECF-14-2, at 32 ¶¶ 54–55 (Hines Decl.); see also Winter v. NRDC,

555 U.S. 7, 24 (2008) (“In exercising their sound discretion, courts of equity

should pay particular regard for the public consequences in employing the

extraordinary remedy of injunction.”); Cassell v. Snyders, 990 F.3d 539, 545

(7th Cir. 2021) (public interest includes “the consequences of granting or

denying the injunction to nonparties”); Bernhardt v. Los Angeles County, 339

F.3d 920, 932 (9th Cir. 2003) (same).

      For the same reasons, this Court also should decline defendants’ request

for a limited stay as to nonparties. Mot. 26. Because the plaintiff States

purchase goods imported by others, limiting injunctive relief to the parties

would not “provide complete relief to the plaintiffs.” Califano v. Yamasaki,

442 U.S. 682, 702 (1979). And defendants ignore the CIT’s other justification

for not so limiting the injunction: the constitutional requirement that “all Duties,

Imposts and Excises shall be uniform throughout the United States.” U.S.

Const., Art. I, § 8; A57–A58.

///

///

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                                        23
                              CONCLUSION

     The Court should deny a stay pending appeal.

                                       Respectfully submitted,

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                                     26
                        STATEMENT OF CONSENT

      Pursuant to Federal Circuit Rule 32(g)(3)(B), the undersigned represents

that counsel for State of Arizona, State of Colorado, State of Delaware, State of

Connecticut, State of Minnesota, State of New Mexico, State of Nevada, State

of Illinois, State of Main, State of Vermont and State of New York have

consented to their signatures on this opposition.



                                       /s/ Benjamin Gutman
                                       _________________________________
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ADDENDUM
                                          TABLE OF CONTENTS
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                 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

    THE STATE OF OREGON, THE STATE OF                      Case No. 1:25-cv-00077-GSK-TMR-JAR
    ARIZONA, THE STATE OF COLORADO,
    THE STATE OF CONNECTICUT, THE                          THIRD DECLARATION OF BRIAN
    STATE OF DELAWARE, THE STATE OF                        SIMMONDS MARSHALL
    ILLINOIS, THE STATE OF MAINE, THE
    STATE OF MINNESOTA, THE STATE OF
    NEVADA, THE STATE OF NEW MEXICO,
    THE STATE OF NEW YORK, and THE
    STATE OF VERMONT,

                   Plaintiffs,

           v.

    DONALD J. TRUMP, in his capacity as
    President of the United States;
    DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity as Secretary of the Department of
    Homeland Security; UNITED STATES
    CUSTOMS AND BORDER PROTECTION;
    PETER R. FLORES, in his official capacity as
    Acting Commissioner for U.S. Customs and
    Border Protection; and THE UNITED
    STATES,

                   Defendants.


           I, Brian Simmonds Marshall, declare under penalty of perjury as follows:

           1.      I am employed as an assistant attorney general with the Oregon Department of

    Justice. I represent the State of Oregon in this case. I previously executed two declarations in this

    case (ECF 14-3, ECF 32-2), which attached exhibits A–M to my declarations.

           2.      On May 29, 2025, before the U.S. Court of Appeals for the Federal Circuit issued

    its administrative stay of this Court’s decision, National Economic Council Director Kevin

    Hassett was interviewed on Mornings With Maria on Fox Business, a recording of which is

    available by video at https://youtu.be/Z5-laLH84oU?si=w07U730F3U9uChQi. The States will



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                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 1 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                                                                        of Enforcement of Judgment Pending Appeal
                             - B1 -        (971) 673-1880 / Fax: (971) 673-5000
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
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    conventionally file a copy of this video on hard media and label the file Exhibit N to this

    declaration.

           3.       I personally reviewed Exhibit N and verify that this is an accurate transcription of

    2:56–6:29:
                 Q: Well, I mean, that’s the thing. I mean the International Emergency
                 Economic Powers Act of 1977 is what the courts are deeming to say, look,
                 this does not, this does not equate to an emergency under this Act of 1977.
                 I know that the lawyers for the Administration immediately appealed. But
                 what do you want to say about this, right now, strike down of these global
                 tariffs? What happens in the interim now, Kevin?

                 Kevin Hassett: Well, what’s going to happen is, first, we’re going to see
                 what happens on appeal, and we’re very confident in our success there,
                 because after all, hundreds and hundreds of thousands of Americans have
                 died because of mostly Chinese fentanyl and Chinese fentanyl coming in
                 from Mexico and Canada. And the idea that having more people die from
                 fentanyl than died in the Vietnam War, and that’s not an emergency—that
                 we need to use every power that we have to try to address—is ludicrous to
                 me. But the second thing is, the trade law is very complex, and this part of
                 the trade law is the thing that was most accurately used, very precisely
                 used, by USTR Trade Representative, Jamieson Greer, because this is the
                 one that where we actually have the most authority for doing what we’re
                 exactly doing. But there are three or four other ways to do it, and we don’t
                 have to go into the numbers right now. I think everybody will go back to
                 sleep, Maria. But the fact is that there are things that measures that we can
                 take with different numbers that we can start right now. There are different
                 approaches that would take a couple of months to put these in place and
                 using procedures that have been approved in the past or approved in the
                 last administration. But we’re not planning to pursue those right now
                 because we’re very, very confident that this really isn’t correct.

                 Q: Kevin, I guess the threat here is, what does this do to any negotiations
                 that are currently pending, right? I mean, you and Scott Bessent have been
                 saying that we’re going to see more deals happening. You’ve already
                 locked up a new deal with the U.K. You were talking about potentially
                 India being close. And, of course, the President has, has put the China 90-
                 day changes in place. Does this ruling from these judges put a crimp in
                 anything that you’re working on currently?

                 Kevin Hassett: No, it doesn’t at all. And you know, we’ll have to get
                 Jamieson out here, who’s the trade lawyer, to go through the play-by-play.

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               But if we put our eyes on the horizon, that what’s going to happen is that
               in a month or two, you’re going to look ahead and see that countries have
               opened their markets to American products, they’ve lowered their non-
               tariff barriers, they’ve lowered their tariffs, and all of the countries that
               have done that are being treated very respectfully and well by the U.S. The
               countries that don’t do that are going to see some form of reciprocal tariff
               that’s higher than what the people who are acting well get. And that’s
               what you’re going to see on the horizon. And if there are little hiccups
               here or there because of decisions that activist judges make, then it
               shouldn’t just concern you at all, and it’s certainly not going to affect the
               negotiations. Because, in the end, people know President Trump is 100%
               serious, and they also have seen that President Trump always wins.

               Q: So you, so you said that we’re going to see probably more deals—and
               Scott Bessent, the Treasury secretary, said the same thing—in the coming
               weeks. Do you still believe that?

               Kevin Hassett: Yes, I do. Yes, I do. And I saw last week at the end of the
               week three that were basically ready for the President’s decision. I don’t
               know if people have had that conversation with him yet. But yes, there are
               many, many deals coming and there were three that are basically look like
               they’re done.

    4.      On May 29, 2025, before the U.S. Court of Appeals for the Federal Circuit issued its

    administrative stay of this Court’s decision, White House Senior Counselor for Trade and

    Manufacturing Peter Navarro was interviewed on Bloomberg Television, a recording of which is

    available by video at https://youtu.be/8DnUddNeVTY?si=4WJyhZCwyarIReoG. The States will

    conventionally file a copy of this video on hard media and label the file Exhibit O to this
    declaration.

    5.      I personally reviewed Exhibit O to verify that this is an accurate transcription of 1:22–

    3:50:
               Peter Navarro: So we think we have a strong case. Yes, we will
               immediately appeal and try to stay the ruling. But, at the same time, the
               court, interestingly enough, basically said we were right, just use different
               rules and laws. So nothing has really changed here in that sense. We’re
               still, as we speak, having countries call us and tell us they want a deal. So
               these deals are going to happen. So that’s kind of where we’re at. And it’s
               troublesome here because if you look broadly at the pattern, we’ve got             I
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         Trump, et al.

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               courts in this country who are basically engaged in attacks on the
               American people. The President ran on stopping the fentanyl poisoning,
               stopping international trade unfair practices from stealing our factories and
               jobs. And courts keep getting in the way of that. The courts get in the way
               of our trying to deal with the border issues. Now they’re getting in the way
               of our trying to deal with the fentanyl crisis. And that’s where we stand
               here. And I think, I think part of what’s going to be important about this
               ruling -- demonstrates yet again to the American people that the judiciary
               in this country has been weaponized in ways which are contrary to their
               interests.

               Q: Well, Peter, you would have heard a lot of people come on this
               program and ultimately say you still have tons of options and you’ve
               alluded to one of them.

               Peter Navarro: Yes.

               Q: You will, of course, appeal. But could you describe what you might do
               in the interim, the way you might pursue your ultimate objective any way
               with the tools you have still available to you?

               Peter Navarro: I’m going to let Jamieson Greer, the USTR, inform you
               on that and you’ll be hearing from him soon on that. But I mean look, any
               trade lawyer knows it’s just a number of different options we can take. If
               you look at the kind of things we’ve already done, it kind of give you a
               roadmap on that. There’s all sorts of numbers out there. There’s 122,
               there’s 301, there’s 232, there’s 338. There’s all sorts of things we can do
               well within the law. But look, we think that what we’ve done already is is
               perfectly appropriate. So that’s why the appeal will take case. …

    6.      I personally reviewed Exhibit O to verify that this is an accurate transcription of 7:10–
    9:08:
               Q: But if the court said, if the ruling said, Peter, and we’ve been talking
               about this page 34, 35, they say basically you are in your right if you use
               Section 122. Why didn’t you guys do that from the beginning?

               Peter Navarro: Well, Section 122 only gives you 150 days. So there’s
               your answer right there.

               Q: (interrupting) So are Section 122, if you use this now for 150 days
               (crosstalk), could it be a bridge to 301 or a bridge to 232? What are you
               thinking more long term?



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               Peter Navarro: You can be the strategist on that, but those are the kinds
               of thoughts. And look, look, if anybody thinks this caught the
               administration by surprise, think again. Okay. Because you could see in
               the oral arguments where those judges were going and that the lead judge
               in this. I mean, the problem with that court, it’s so such an obscure court,
               but it’s consistently been globalist, pro-importer, giving us bad rulings.
               The lead judge there ruled against the 232s originally and had to get
               overturned by the appeals court. So that gives you an idea of the, the bias
               against the President’s tariff policy right on that court. But I think the big
               picture here is we’ve got a very strong case with IEEPA, but the court
               basically tells us if we lose that we just do some other thing. So nothing’s
               really changed. I want to say this to the world. You’re cheating us. We’re
               coming after you. Deal. And let’s make this right. Because ultimately
               what’s at stake here is the global international environment -- getting it in
               a way where it’s fair to America and thereby if it’s fair to America and we
               structure this thing in a way we’ll have just more stability in terms of
               financial flows and capital and everything like that.

               Q: (interrupting) Dr. Navarro.

               Peter Navarro: It’s wildly out of balance now.

    7.      On May 29, 2025, after the U.S. Court of Appeals for the Federal Circuit issued its

    administrative stay of this Court’s decision, Mr. Navarro spoke to reporters outside at the White

    House, a recording of which is available by video at

    https://www.youtube.com/watch?v=JnFplVEpGkI. The States will conventionally file a copy of

    this video on hard media and label the file Exhibit P to this declaration.

    8.      I personally reviewed Exhibit P to verify that this is an accurate transcription of 7:03–

    8:39:

               Q: Thank you so much, Peter. And just given this appeals court
               temporarily reinstating the tariffs, what does that mean for you and your
               position? And does it buy the administration more time in your view?

               Peter Navarro: “Me and my?” You’re not talking about me personally,
               you’re talking about the Administration?

               Q: The Administration, of course.



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               Peter Navarro: So, look, the the tariff the tariffs remain in place. The
               court told us—they didn’t all but tell us—they they told us go do it another
               way. So you can assume that even if we lose we will do it another way.
               And I can assure the American people that the Trump tariff agenda is
               alive, well, healthy and will be implemented to protect you, to save your
               jobs and your factories, and to stop shipping foreign wealth -- our wealth
               into foreign hands.

               Q: You are working on a plan B right now?

               Peter Navarro: Of course, there’s no plan B. It’s plan A. Okay. Plan A
               encompasses all strategic options. And when we move forward, we had a
               full view of what the battlefield looks like. We, we are not naive about
               rogue justices in the judiciary and Democrats filing lawsuits. This has got
               to stop, by the way. This, this, this weaponization of the judiciary to stop
               the Trump, President Trump from doing what he promised the American
               people. This has got to stop. It’s, the people of America have the lowest
               level of of confidence in the American judiciary they’ve had in a hundred
               years. And, and it’s getting close to what they think about Congress and
               that’s a low bar to hit.

    9.      I personally reviewed Exhibit P to verify that this is an accurate transcription of 8:59–

    9:49:

               Q: Peter, I want to ask you what do the conversations look like right now
               with other countries as you’re seeing the courts pushing back here in the
               United States?

               Peter Navarro: Well, great question. In fact, that is the question in many
               ways. This morning, we were getting plenty of phone calls from countries
               saying, “We saw the ruling. So, what? We’re going to continue to
               negotiate in good faith because we understand that there’s a problem. And
               based on that court decision, we understand that that court decision is not
               going to stop you from doing what you need to do. So, we’re going to
               work with you.” So, I can assure you—and by the way there’s going to be
               within the next I don’t know say few days because that puts me too much
               on the spot—but you will see a cascade of new deals coming out in the
               near future and these will all be good for the American people.

    10.     On May 30, 2025, the U.S. Trade Representative, Ambassador Jamieson Greer, appeared

    on CNBC, a recording of which is available by video at


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    https://www.youtube.com/watch?v=M_crUiRBDb8. The States will conventionally file a copy

    of this video on hard media and label the file Exhibit Q to this declaration.

    11.     I personally reviewed Exhibit Q to verify that this is an accurate transcription of 0:17–

    2:25:

               Q: I guess we’ll start with with some of your comments about that -- the
               rulings yesterday and the prospects for what is likely to happen. I know
               there’s a lot of things that are being discussed right now. Do you think if
               you were to get emergency relief from the Supreme Court, do you think
               they’d come down on on the president’s side? Do you think you have a
               strong case, or will it stand the way it is right now?

               Ambassador Greer: Well, I think we have a very strong case. Congress
               clearly delegated to the President the ability to take action when there’s a
               national emergency. We’ve declared a national emergency. We’ve taken
               action. We have a stay from the circuit court right now. All the other
               countries I’m dealing with in negotiations are treating this as just kind of a
               bump in the road rather than any fundamental change. So, I feel pretty
               confident about the case. And if the case, you know, goes the other way,
               we have other tools as well.

               Q: Yeah, I was -- I’ve expressed that sentiment earlier that you don’t
               know what you’ve got until it’s gone. I, you know, as a pure conservative
               and a markets-type guy, tariffs, I think they can be effective. But there’s
               times when you kind of wish that we would just maybe not be doing as
               many. But then we’ve we’ve come along so far, Mr. Ambassador, that to
               pull the rug out from the negotiating ability by making all these countries
               we’re negotiating with think that the tariffs might not stick, that’s
               frustrating. But you’re telling me, again, that none of those countries
               expressed any -- they weren’t saying, all right, we’re going to pull out of
               these negotiations because we don’t need to anymore?

               Ambassador Greer: It’s actually the opposite. You know, when I woke
               up, you know, the morning after the initial ruling—before we had the
               stay—you know, I had emails and texts from foreign officials saying, you
               know, we’re just going to keep negotiating with you as before. You know,
               we understand these are, you know, this is litigation. Things go up and
               down. We understand the U.S. policy going forward. And we’re
               negotiating with you as before. So that’s what’s happening.




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    12.    On June 1, 2025, Secretary of Commerce Howard Lutnick was interviewed on Fox News

    Sunday, a recording of which is available by video at

    https://youtu.be/t0UtSmEWhbw?si=YvCa5tGe3iGkyoD2. The States will conventionally file a

    copy of this video on hard media and label the file Exhibit R to this declaration.

    13.    I personally reviewed Exhibit R to verify that this is an accurate transcription of the

    interview:

                 Q: And now back to the uncertain future of President Trump’s vast tariffs,
                 and what’s next after a flurry of court rulings. Joining me now, Commerce
                 Secretary Howard Lutnick, welcome back to the show.

                 Secretary Lutnick: Great to be back.

                 Q: Okay, so we want to start here with the Court of International Trade.
                 This is a decision that went against the President days ago. They said,
                 “Because of the Constitution’s express allocation of the tariff power to
                 Congress … an unlimited delegation of tariff authority [to the President]
                 would constitute an improper abdication of legislative power to another
                 branch of government.” Just to boil that down, they said he can’t do it, but
                 that decision is on hold for now. What is the backup plan?

                 Secretary Lutnick: Well, think about how silly that is, right? So,
                 Congress gives the President, under this IEEPA authority, the ability to
                 take on other countries who are creating a national emergency, and the
                 $1.2 trillion trade deficit and all the underlying implications of that is a
                 national emergency. It’s gutting our manufacturing base. The President
                 takes that on, and Congress lets him do it—specifically, does not vote to
                 take it away, calls a vote and says he can keep it. So, what’s going to
                 happen is we’re going to take that up to higher courts. The President’s
                 going to win, like he always does. But rest assured, tariffs are not going
                 away. He has so many other authorities that even in the weird and unusual
                 circumstance where this was taken away, we just bring on another or
                 another or another. Congress has given this authority to the President, and
                 he’s going to use it.

                 Q: Okay. So you know that these two federal courts have so far said the
                 use of that law as emergency power is not proper, it is on appeal. So we’ll
                 see what they—potentially Supreme Court—has to say about it. But in the
                 meantime, it sparks this question about whether, if other countries think
                 that our court system is potentially going to shut down these bigger, more

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            sweeping tariffs, you’re losing some kind of advantage in negotiations.
            Reuters quotes an E.U. official saying this. Quote, the uncertainty as to the
            legality of the reciprocal tariffs certainly gives us meaning them extra
            leverage. Here is how Jonathan Turley put it.

                   Jonathan Turley: Trump has been saying, you know,
                   using these tariffs like a gun to the head of these other
                   countries, and the court just removed the bullets.

            Q: So, have you lost leverage? And where are we on the talks with the
            EU?

            Secretary Lutnick: All right, so the President said he was going to put a
            50% tariff on the EU, and as I said, not only does he have this authority
            under IEEPA, but he has many, many other authorities. The European
            Union sent in—after this—their first offer. So they are at the table. They
            are negotiating. You can’t listen to silly people making silly comments.
            All of the countries that are negotiating with us understand the power of
            Donald Trump and his ability to protect the American worker. And so
            what they’re doing is they’re negotiating with us. I think it cost us a
            week—maybe cost us a week—but then everybody came right back to the
            table. Everybody is talking to us. You’re going to see over the next couple
            of weeks, really first-class deals for the American worker, opening their
            markets and setting on tariffs to make sure that we are treated fairly
            around the world.

            Q: Well, I know you and Secretary Bessent are talking to a lot of these
            countries trying to get those deals across the finish line. He has said talks
            with China are stalled. What’s the latest?

            Secretary Lutnick: Well, I think, what happened is Secretary Bessent and
            Ambassador Greer went to Geneva, they made a deal with the Chinese.
            And really the right way to say it is they’re just slow rolling the deal. So, I
            think slow rolling is the right way to say it, and I think Donald Trump is
            on it. We are taking certain actions to show them what it feels like on the
            other side of that equation. But my view is Donald Trump and President
            Xi—you know, our President understands what to do. He’s going to go
            work it out and, and I am confident that this is going to work out either
            way. The President understands the power of our economy. He said it over
            and over again: we are the consumer of the world. We are the consumer of
            Chinese goods. If we don’t open our markets to them, their economy is in
            really, really tough shape. So I think -- I love having all of this power in
            the President’s hands. He knows how to wield it correctly for the benefit
            of the American worker.


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             Q: Okay, quickly, because we got to go, the 90-day pause on the major
             tariffs is due to expire at the beginning of July. You get a lot of deals to
             get done. Will the President extend that pause?

             Secretary Lutnick: I think we’re going to get a lot, a lot of deals done. I
             think they’re all being set up. We could sign lots of deals now, but I think
             we’re trying to make them better and better and better. And, as the
             President said, or he’ll just set rates and he’ll set the terms of the deal. So I
             don’t see today that an extension is coming. In fact, I think that’s the
             deadline and the President’s just going to determine what rates people
             have. If they can’t get a deal done, President Trump is going to determine
             what deal there’s going to be.

             Q: Okay, Secretary Lutnick, great to see you. Thanks for your time.

             Secretary Lutnick: Great to be here.

          I declare under penalty of perjury that the foregoing is true and correct.

          EXECUTED on June 2, 2025, in Portland, Oregon.


                                                        s/ Brian Simmonds Marshall
                                                        BRIAN SIMMONDS MARSHALL
                                                        Senior Assistant Attorney General




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             UNITED STATES COURT OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; and TERRY PRECISION
CYCLING LLC;

             Plaintiffs,

      v.
                                            Before: Gary S. Katzmann, Judge
THE UNITED STATES OF AMERICA;
                                                    Timothy M. Reif, Judge
UNITED STATES CUSTOMS AND
                                                    Jane A. Restani, Judge
BORDER PROTECTION; PETE R.
FLORES in his official capacity as Acting
                                            Court No. 25-00066
Commissioner for United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; and HOWARD
LUTNICK, in his official capacity as
Secretary of Commerce;

             Defendants.



THE STATE OF OREGON; THE STATE
OF ARIZONA; THE STATE OF
COLORADO; THE STATE OF
CONNECTICUT; THE STATE OF
DELAWARE; THE STATE OF ILLINOIS,
                                            Before: Gary S. Katzmann, Judge
THE STATE OF MAINE; THE STATE OF
                                                    Timothy M. Reif, Judge
MINNESOTA; THE STATE OF NEVADA;
                                                    Jane A. Restani, Judge
THE STATE OF NEW MEXICO; THE
STATE OF NEW YORK; and THE STATE
                                            Court No. 25-00077
OF VERMONT;

             Plaintiffs,

      v.




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    UNITED STATES DEPARTMENT OF
    HOMELAND SECURITY; KRISTI NOEM,
    in her official capacity as Secretary of the
    Department of Homeland Security; U.S.
    CUSTOMS AND BORDER PROTECTION;
    PETE R. FLORES in his official capacity as
    Acting Commissioner for United States
    Customs and Border Protection; and THE
    UNITED STATES OF AMERICA;

                 Defendants.


                                            ORDER

         On May 28, the court entered summary judgment against the United States and issued both

declaratory and permanent injunctive relief in V.O.S. Selections, Inc. v. United States, Slip Op.

25-66 (May 28, 2025) (per curiam). 1 This relief included an injunction against the operation of

the challenged Tariff Orders and all amendments and modifications thereto. The injunction issued

on account of Plaintiffs’ success on the merits and the unavailability under the Uniformity Clause

of a complete legal remedy in the form of piecemeal duty refunds to specific plaintiffs. Intrinsic

to this exercise of equitable discretion was the compelling public interest in “ensuring that

governmental bodies comply with the law,” Am. Signature, Inc. v. United States, 598 F.3d 816,

830 (Fed. Cir. 2010), and the lack of any cognizable hardship borne by the United States in the

form of its non-enforcement of orders issued ultra vires. The court’s issuance of injunctive relief

did not depend on the wisdom or policy consequences of such non-enforcement. The principle at

work was more straightforward: “[I]njunctive relief is generally available to preclude ultra vires

conduct by subordinate executive officials.” Kemet Elecs. Corp. v. Barshefsky, 21 CIT 912, 925,



1
  As the court explained in its combined opinion, the court also granted summary judgment against
the United States in Oregon v. U.S. Dep’t of Homeland Security, Case No. 25-00077.



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976 F. Supp. 1012, 1024 (1997) (citing Soucie v. David, 448 F.2d 1067, 1072 n.12

(D.C. Cir. 1971)); see also Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).

        The court has exclusive jurisdiction to hear this action because the challenged Tariff Orders

are “law[s] of the United States providing for” tariffs. 28 U.S.C. § 1581(i)(1). “[L]aw” is a broader

term than “statutes.” To the extent the challenged Tariff Orders bind Customs to collect duties at

the rates they prescribe, they are laws of the United States. See Old Dominion Branch No. 496,

Nat. Ass’n of Letter Carriers, AFL-CIO v. Austin, 418 U.S. 264, 273 (1974) (holding for

Supremacy-Clause purposes that “the relevant federal law is Executive Order No. 11491 rather

than the [National Labor Relations Act].”). The challenged Tariff Orders also effect changes to

the Harmonized Tariff Schedule of the United States (“HTSUS”). See, e.g., Executive Order

14257, 90 Fed. Reg. 15041, 15047 (Apr. 2, 2025) (“In order to establish the duty rates described

in this order, the HTSUS is modified as set forth in the Annexes to this order.”). This means the

Orders are “law[s]” in the additional sense that they modify a statute: The HTSUS “shall be

considered to be statutory provisions of law for all purposes.” 19 U.S.C. § 3004(c)(1).

        This jurisdictional conclusion does not hinge on whether IEEPA authorizes tariffs as a

categorical matter—a question this court did not reach in its opinion on May 28. 2 Nor is it material



2
  If jurisdiction followed the merits in this way, the Court of International Trade would have
exclusive jurisdiction to hear only unsuccessful claims of ultra vires presidential tariff orders, with
successful claims left to the federal district courts (or to no court at all). That would accomplish
the opposite of “remedy[ing] the confusion over the division of jurisdiction between . . . the Court
of International Trade . . . and the district courts and . . . ensur[ing] uniformity in the judicial
decisionmaking process.” K Mart Corp. v. Cartier, Inc., 485 U.S. 176, 188 (1988) (internal
quotation marks, citation, and parenthesis omitted); see also Conoco, Inc. v. U.S. Foreign-Trade
Zones Bd., 18 F.3d 1581, 1586 (Fed. Cir. 1994) (“Congress had in mind consolidating this area of
administrative law in one place, and giving to the Court of International Trade, with an already
developed expertise in international trade and tariff matters, the opportunity to bring to it a degree
of uniformity and consistency. Obviously that would not be possible if jurisdiction were spread



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that some non-tariff-related litigation involving IEEPA takes place in the federal district courts.

“The district courts and the Court of International Trade can both have jurisdiction over actions

arising out of the same act . . . .” Orleans Int’l, Inc. v. United States, 334 F.3d 1375, 1379

(Fed. Cir. 2003) (USCIT has exclusive jurisdiction over import assessment related to the Beef

Promotion and Research Act of 1985).

       The Government now moves to stay the court’s enforcement of its judgment pending

appeal of that judgment to the U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”).

See V.O.S. Mot. to Stay, May 28, 2025, ECF No. 59; Oregon Mot. to Stay, May 28, 2025, ECF

No. 69 (collectively “USCIT Motions to Stay”). The Government has also moved for the same

relief from the Federal Circuit, which on May 29 issued an administrative stay of this court’s

judgment pending consideration of the appellate motion to stay. See Order, No. 2025-1812 (Fed.

Cir. May 29, 2025) (per curiam). Plaintiffs in both V.O.S. and Oregon oppose the Government’s

motions. See Pls.’ V.O.S. Resp. to Mot. to Stay, June 2, 2025, ECF No. 62; Pls.’ Oregon Resp. to

Mot. to Stay, June 2, 2025, ECF No. 72.

       Ultimately, the Federal Circuit’s impending consideration of the motion to stay before it

makes it unnecessary for this court to rule on the USCIT Motions to Stay. The two motions seek

identical relief; the Federal Circuit’s ruling will control. At the very least, the court cannot

determine whether the Government “will be irreparably injured absent a stay” while (1) this court’s

denial of a stay (if ordered) would leave in place the temporary administrative stay issued by the

Federal Circuit and (2) this court’s denial of a stay could be immediately superseded by the Federal

Circuit’s imposition of one. Nken v. Holder, 556 U.S. 418, 426 (2009). It is accordingly



among the district courts throughout the land.”).



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          ORDERED that the USCIT Motions to Stay are HELD IN ABEYANCE pending the

Federal Circuit’s consideration of the Government’s motion to stay this court’s judgment pending

appeal.

                                                                  By the panel.

Dated: June 3, 2025
       New York, New York




                       - B15 -
                                    STATUTES
50 U.S.C. § 1701:
      (a) Any authority granted to the President by section 1702 of this title
      may be exercised to deal with any unusual and extraordinary threat,
      which has its source in whole or substantial part outside the United
      States, to the national security, foreign policy, or economy of the
      United States, if the President declares a national emergency with
      respect to such threat.
      (b) The authorities granted to the President by section 1702 of this
      title may only be exercised to deal with an unusual and extraordinary
      threat with respect to which a national emergency has been declared
      for purposes of this chapter and may not be exercised for any other
      purpose. Any exercise of such authorities to deal with any new threat
      shall be based on a new declaration of national emergency which must
      be with respect to such threat.
50 U.S.C. § 1702:
      (a) In general
      (1) At the times and to the extent specified in section 1701 of this title,
      the President may, under such regulations as he may prescribe, by
      means of instructions, licenses, or otherwise—
      (A) investigate, regulate, or prohibit—
      (i) any transactions in foreign exchange,
      (ii) transfers of credit or payments between, by, through, or to any
      banking institution, to the extent that such transfers or payments
      involve any interest of any foreign country or a national thereof,
      (iii) the importing or exporting of currency or securities,
      by any person, or with respect to any property, subject to the
      jurisdiction of the United States;
      (B) investigate, block during the pendency of an investigation,
      regulate, direct and compel, nullify, void, prevent or prohibit, any
      acquisition, holding, withholding, use, transfer, withdrawal,
      transportation, importation or exportation of, or dealing in, or
      exercising any right, power, or privilege with respect to, or
      transactions involving, any property in which any foreign country or a



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national thereof has any interest by any person, or with respect to any
property, subject to the jurisdiction of the United States; and
(C) when the United States is engaged in armed hostilities or has been
attacked by a foreign country or foreign nationals, confiscate any
property, subject to the jurisdiction of the United States, of any
foreign person, foreign organization, or foreign country that he
determines has planned, authorized, aided, or engaged in such
hostilities or attacks against the United States; and all right, title, and
interest in any property so confiscated shall vest, when, as, and upon
the terms directed by the President, in such agency or person as the
President may designate from time to time, and upon such terms and
conditions as the President may prescribe, such interest or property
shall be held, used, administered, liquidated, sold, or otherwise dealt
with in the interest of and for the benefit of the United States, and
such designated agency or person may perform any and all acts
incident to the accomplishment or furtherance of these purposes.
(2) In exercising the authorities granted by paragraph (1), the
President may require any person to keep a full record of, and to
furnish under oath, in the form of reports or otherwise, complete
information relative to any act or transaction referred to in paragraph
(1) either before, during, or after the completion thereof, or relative to
any interest in foreign property, or relative to any property in which
any foreign country or any national thereof has or has had any
interest, or as may be otherwise necessary to enforce the provisions of
such paragraph. In any case in which a report by a person could be
required under this paragraph, the President may require the
production of any books of account, records, contracts, letters,
memoranda, or other papers, in the custody or control of such person.
(3) Compliance with any regulation, instruction, or direction issued
under this chapter shall to the extent thereof be a full acquittance and
discharge for all purposes of the obligation of the person making the
same. No person shall be held liable in any court for or with respect to
anything done or omitted in good faith in connection with the
administration of, or pursuant to and in reliance on, this chapter, or
any regulation, instruction, or direction issued under this chapter.
(b) Exceptions to grant of authority




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The authority granted to the President by this section does not include
the authority to regulate or prohibit, directly or indirectly—
(1) any postal, telegraphic, telephonic, or other personal
communication, which does not involve a transfer of anything of
value;
(2) donations, by persons subject to the jurisdiction of the United
States, of articles, such as food, clothing, and medicine, intended to be
used to relieve human suffering, except to the extent that the President
determines that such donations (A) would seriously impair his ability
to deal with any national emergency declared under section 1701 of
this title, (B) are in response to coercion against the proposed recipient
or donor, or (C) would endanger Armed Forces of the United States
which are engaged in hostilities or are in a situation where imminent
involvement in hostilities is clearly indicated by the circumstances; or
(3) the importation from any country, or the exportation to any
country, whether commercial or otherwise, regardless of format or
medium of transmission, of any information or informational
materials, including but not limited to, publications, films, posters,
phonograph records, photographs, microfilms, microfiche, tapes,
compact disks, CD ROMs, artworks, and news wire feeds. The
exports exempted from regulation or prohibition by this paragraph do
not include those which are otherwise controlled for export under
section 4604 [3] of this title, or under section 4605 [3] of this title to
the extent that such controls promote the nonproliferation or
antiterrorism policies of the United States, or with respect to which
acts are prohibited by chapter 37 of title 18; or
(4) any transactions ordinarily incident to travel to or from any
country, including importation of accompanied baggage for personal
use, maintenance within any country including payment of living
expenses and acquisition of goods or services for personal use, and
arrangement or facilitation of such travel including nonscheduled air,
sea, or land voyages.
(c) Classified information
In any judicial review of a determination made under this section, if
the determination was based on classified information (as defined in
section 1(a) of the Classified Information Procedures Act) such
information may be submitted to the reviewing court ex parte and in



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camera. This subsection does not confer or imply any right to judicial
review.




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                     CERTIFICATE OF COMPLIANCE

       Pursuant to Rule 32(a)(7), Federal Rules of Appellate Procedure, I certify

that the Motion to Stay is proportionately spaced, has a typeface of 14 points or

more and contains 5,177 words.

       DATED: June 5, 2025
                                       /s/ Benjamin Gutman
                                       _________________________________
                                       BENJAMIN GUTMAN #160599
                                       Solicitor General
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